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                     Exhibit 2
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                          UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF OKLAHOMA

     PETER POE, et al.,
                                    Plaintiffs,
        v.                                         No.23-cv-00177-JFH-SH
     GENTNER F. DRUMMOND, et al.,
                                    Defendants.


                             SUPPLEMENTAL DECLARATION OF
                                MICHAEL K. LAIDLAW, M.D.
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             SUPPLEMENTAL DECLARATION OF MICHAEL K. LAIDLAW, M.D.
    I, Michael K. Laidlaw, M.D., hereby declare as follows:
            1.      I submit this rebuttal declaration to respond to the declarations and rebuttals of Drs.
    Janssen, Adkins, Turban and Antommaria. I have not addressed every point made by the plaintiffs'
    experts in their declarations. Rather, I have focused on specific examples from their declarations to
    highlight aspects of the problems with gender affirmative therapy (GAT) for minors. I reserve the
    right to revise or add to the opinions made in my declaration.
            2.      Dr. Janssen states that “Dr. Laidlaw has neither had the training nor the certification
    and licensure to weigh in as an expert on the appropriateness of a mental health assessment or
    treatment plan.” (Janssen rebuttal, par. 15) He goes on to write that “expertise in the treatment of
    transgender people requires experience in the care of transgender people, which Dr. Laidlaw does not
    possess.” (Id.). Dr. Janssen’s statements are peculiar. I have never claimed to be an expert in mental
    health alone. I am an expert in endocrinology. And as an endocrinologist, I must routinely analyze the
    psychological and mental health of patients, since their conditions can be caused by hormone excess
    or deficiency. For example, if a psychiatrist refers a patient to me with an anxiety disorder, and the
    psychiatrist believes this may be due to a thyroid condition (which can and does occur), I must make
    an independent medical assessment by obtaining a history, physical, laboratory results, and/or imaging
    tests before coming to both a diagnosis and treatment if necessary.
            3.      Dr. Janssen at times discusses the “care of transgender people” as though it is
    somehow divorced and separate from the rest of medical and endocrine care. As I stated in my
    declaration, quoting from our letter to the editor of The Journal of Clinical Endocrinology and
    Metabolism, “Childhood gender dysphoria (GD) is not an endocrine condition, but it becomes one
    through iatrogenic puberty blockade (PB) and high-dose cross-sex (HDCS) hormones” (Laidlaw et
    al., 2019) (Laidlaw decl, par 20). To phrase it in a different way, people who identify as transgender
    and receive hormones to alter their bodies develop endocrine conditions that require monitoring and
    medical follow-up. Endocrinology is therefore widely acknowledged to be important when it comes
    to GAT. Dr. Janssen’s own original declaration cites as authoritative a “clinical practice guideline from
    the Endocrine Society” that “provides similar widely-accepted protocols for the medically necessary
    treatment of gender dysphoria.” (Janssen decl., par. 50). Our letter to the editor was critical of that
    very same guideline.
            4.      What is unique about GAT is that hormones are being administered to alter the human
    body based on a psychological condition and not a physical condition. Even more than that, hormones
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    are being administered in high doses to produce the endocrine conditions of hyperandrogenism and
    hyperestrogenemia, which are hormone imbalance conditions that endocrinologists like me routinely
    treat or resolve. So, I am very familiar with these conditions as my daily work involves the diagnosis
    and treatment of hormone imbalances. Also, GnRHa (puberty blocking medications) are given to
    cause the endocrine condition hypogonadotropic hypogonadism which results in deficiencies of sex
    hormones and stops normal adolescent pubertal development. This is another endocrine condition
    that endocrinologists diagnose and treat.
            5.       In addition to diagnosing and treating endocrine conditions like those caused by GAT,
    I also have a patient who underwent GAT as an adolescent and is now suffering complications from
    hormones and genital surgery to alter his body. He regrets his decision and is referred to as a
    detransitioner. So, I have firsthand clinical knowledge of what happens when a person is misdiagnosed
    and is now experiencing lifelong negative health effects because of GAT.
            6.       I also find their insinuation to be indefensible that unless a physician actively provides
    GAT they are unable to comment as an expert on the subject. The very nature of science and medicine
    is that it is to be debated, interrogated, and continued to be investigated in the search of truth and the
    best possible treatments for patients. As such both the providers of GAT and those that are critical
    of such treatments must be allowed to debate the case for and against in order to maximize the benefits
    for gender dysphoric patients and minimize the harms. To exclude critical voices is a dangerous
    suggestion. I am an expert in all of the hormonal modalities that are used in GAT and as such I am
    very aware of the potential risks of altering human physiology such as is promoted by GAT. Should
    the critics of lobotomy have been silenced, for example, then this harmful practice might remain in
    widespread usage today (Caruso and Sheehan, 2017).
            7.       Both Dr. Janssen and Dr. Turban take issue with the interpretation of objective facts
    from Dhejne’s data (Janssen rebuttal, par 47) (Turban rebuttal, par 14). The Dhejne team made
    extensive use of numerous Swedish database registries and examined data from 324 patients in Sweden
    over 30 years who had taken opposite sex hormones and had undergone sex reassignment surgery
    (Dhejne et al., 2011). They used population controls matched by birth year, birth sex, and reassigned
    sex. When followed out beyond ten years, the sex-reassigned group had nineteen times the rate of
    completed suicides and nearly three times the rate of all-cause mortality and inpatient psychiatric care
    compared to the general population of Sweden. Neither Dr. Janssen nor Dr. Turban dispute these
    facts in their rebuttals.




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            8.      Instead, Dr. Janssen appeals to the author’s subjective opinion about the data (Janssen
    rebuttal, par 47). A principle of reviewing scientific studies is an awareness that a study provides 1)
    methods of how the study is conducted and 2) data resulting from the conduct of the study. Both of
    these sections of a study are intended to contain objective facts such that 1) anyone can interpret the
    data and critique the methods used to obtain such data, and 2) anyone can repeat the study under
    similar conditions to see if they obtain similar results.
            9.      The study author’s opinions (even Dhejne’s) are simply that, opinions. They are a
    subjective interpretation of the data. They are subject to biases, as are anyone’s opinions. In other
    words, the study’s author’s statement doesn’t amount to science or preclude anyone else from forming
    a different or even opposite opinion as Drs. Janssen and Turban imply.
            10.     Drs. Janssen and Turban do not challenge that a comprehensive study of 30 years’
    worth of data showed remarkably high rates of completed suicide, psychiatric hospitalization and
    mortality compared to the socially liberal population of Sweden. The suicide rate was 19 times the
    general population. While it is true that it is not known if GAT increased these risks, it also is not
    proven that GAT decreased the risks either.
            11.     What we are left with are statistics that show very high rates of morbidity and mortality
    in spite of both hormonal and surgical interventions that are supposedly intended to prevent such
    occurrences, and are widely advertised as successfully doing so. Given that suicide occurs in the
    context of psychological conditions, and particularly depression, in my opinion it is more likely that
    untreated psychological comorbidities, possibly compounded by negative psychological effects of high
    dose hormones and post operative regret, led to higher rates of completed suicide as compared to the
    general population (Hirschfeld and Russel, 1997).
            12.     Another prominent study in which persons receiving GAT had died of suicide is the
    Chen study which I describe in my declaration (Laidlaw decl, section III.D.). Briefly, this arm of the
    study included 315 adolescents aged 12 to 20 years old who were taking high dose hormones of the
    opposite sex (Chen et al., 2023). The study was not randomized and had no control group. The authors
    reported that 2 out 315 subjects died by suicide. The authors also reported “[t]he most common
    adverse event was suicidal ideation” in 11 subjects. Oddly, responding to my citation of Chen, Dr.
    Turban is not particularly curious and is even dismissive of the increase in suicidality and suicide deaths
    stating that “death from suicide is not a recognized side effect of gender-affirming medical care”
    (Turban decl, par 15). Simply because practitioners of GAT do not “recognize” these outcomes does
    not mean the evidence can be dismissed.


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            13.        Dr. Turban means to cast doubt that I have obtained consent forms for this study via
    my colleague’s FOIA request, stating about them, “the consent forms from this study, which Dr.
    Laidlaw supposedly received through FOIA requests” (Turban decl, par 15) (emphasis mine). Again, Dr.
    Turban’s dismissiveness and lack of concern about a potentially misleading consent form in ongoing
    NIH funded research for GAT is troubling. I have attached the consent forms and the letter
    responsive to the FOIA request appeal from DHHS dated April 17, 2020. I note again that death by
    suicide (or by any cause) is not listed in the consent forms and was not disclosed as a possible outcome
    to participants.
            14.        It’s not surprising that Dr. Adkins is aware of the practices regarding GAT that occur
    at her own institution or that are promoted by WPATH and the Endocrine Society Guideline (ESG)
    (Adkins rebuttal, par 5-6). However, it is concerning that Dr. Adkins is not apparently aware of the
    actual practices that occur in Oklahoma and indeed other parts of the country. It’s one thing to
    describe an ideal of patient care based purely on guidelines. It’s quite another thing to examine the
    care of the actual patients involved. This is one reason why I read through each of the plaintiff’s
    declarations to begin a preliminary review of their individual cases.
            15.        Not only has Dr. Adkins not reviewed any of the plaintiffs’ cases as described within
    their declarations, but also neither have Drs. Janssen, Turban, and Antommaria (Declarations and
    Rebuttals of Adkins, Jensen, Turban, and Antommaria). Nor, as far as I can tell, have they reviewed
    the “detransitioner” affidavits filed in this case. As I stated in my declaration, because the rate of
    desistance for young people is very high, many adolescents can be permanently harmed by GAT
    because of improper diagnoses and/or deficient evaluation of psychiatric comorbidities. (Laidlaw decl,
    section III.F.)
            16.        Dr. Adkins and the other experts should be eager to examine the medical records of
    all the plaintiffs in order to ensure that the various medical and mental health professionals involved
    have adhered to the WPATH/Endocrine Society recommendations for each plaintiff. This is
    especially true if Dr. Adkins “cannot speak to the practice of every gender clinic in the country”
    (Adkins rebuttal, par 5).
            17.        Dr. Adkins states that “[t]he assessment and informed consent process that we utilize
    at the Duke Gender Care Clinic is comparable to the processes used at gender clinics across the
    country” (Adkins rebuttal, par 6). The only way to have some certainty about that particular claim for
    Oklahoma is to be provided medical record evidence that the plaintiffs or other Oklahomans have
    followed a similar informed consent process (based on clinician progress notes and consent forms if


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    available) and medical record evidence of the assessments. Since that has not occurred, Dr. Adkins’
    claim is baseless with respect to the youth of Oklahoma.
            18.      Dr. Turban implies that I have misrepresented what is happening internationally and
    have discussed an “international consensus” (Turban rebuttal, par 6). I have never claimed that there
    is an international consensus, rather the opposite. There is no international consensus on the proper
    care for gender dysphoric youth. Let’s examine more closely what has just recently occurred within
    NHS England for example.
            19.      On June 8, 2023, NHS England issued interim guidance for their specialty service for
    children and young people with gender dysphoria (NHS England, 2023). They wrote, “The primary
    intervention for children and young people who are assessed as suitable for The Service is psychosocial (including
    psychoeducation) and psychological support and intervention; the main objective is to alleviate distress
    associated with gender incongruence and promote the individual’s global functioning and wellbeing
    (NHS England, section 5) (emphasis mine). They clearly do not follow the GAT model espoused by
    WPATH, the Endocrine Society or the plaintiffs’ experts. Neither WPATH’s name nor the Endocrine
    Society’s name is mentioned within the NHS document.
            20.      Furthermore, NHS England has a provision for the child or young person who has
    started puberty blocking medications outside of NHS protocols that involves stopping the blockers
    for a period of time to “allow baseline investigations to be undertaken by The Service.” (NHS
    England, p. 17) If a patient is then considered appropriate to be restarted on treatment, then blockers
    must be resumed under a strict protocol including “the requirement for the patient to be enrolled in
    the formal research protocol.” (Id.) The fact that NHS England has required this subgroup of patients
    to be involved in a “formal research protocol” is another piece of evidence that puberty blocking
    medication for the treatment of gender dysphoria remains experimental.
            21.      I do not mean to imply that I am in full agreement with NHS England’s research plans
    (which to my knowledge have yet to be published). Rather, I will state clearly that I do not believe that
    children and adolescents who are at the earliest stages of pubertal development (Tanner stage 2 or 3)
    nor their parents can consent or assent to future infertility and potential sterility as part of GAT even
    within a research protocol. But my disagreement with NHS England on this point does not somehow
    transform their approach into one matching that of the plaintiffs’ experts. What is happening in
    various parts of Europe is vastly different than what plaintiffs are promoting.
            22.      Also significant in the discussion about Europe is a recent letter published in the Wall
    Street Journal, signed by 21 clinicians and researchers from nine different countries around the world.


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    They state that the “claim that gender transition reduces suicides is contradicted by every systematic
    review, including the review published by the Endocrine Society, which states, ‘We could not draw
    any conclusions about death by suicide.’ There is no reliable evidence to suggest that hormonal
    transition is an effective suicide-prevention measure.” (Kaltiala et al., 2023). They also state that “more
    and more European countries and international professional organizations now recommend
    psychotherapy rather than hormones and surgeries as the first line of treatment for gender-dysphoric
    youth.” (Id.)
              23.     In my declaration I provided examples with figures showing the exceedingly high
    doses of testosterone recommended for natal females and estrogen for natal males recommended by
    the Endocrine Society for GAT.1 Dr. Adkins makes the unscientific and illogical claim that “[t]he
    guidelines recommend that the hormone levels be kept in the normal physiologic range for their
    gender identity, not their sex assigned at birth. The levels are thus in the physiologic range for their
    gender identity.” (Adkins rebuttal, par 23). Gender identity, as I have described, is a purely
    psychological concept. The Diagnostic and Statistical Manual of Mental Disorders (DSM-5 TR) states
    that “sex and sexual refer to the biological indicators of male and female (understood in the context
    of reproductive capacity), such as in sex chromosomes, gonads, sex hormones, and non-ambiguous
    internal and external genitalia” (DSM-5 TR, emphasis added). Note that gender identity is not a
    component of physical sex as defined by the DSM 5.
              24.     Gender identity in the DSM 5 is defined separately: “Gender identity is a category of
    social identity and refers to an individual’s identification as male, female, or, occasionally, some
    category other than male or female” (DSM 5-TR). So, we can see that gender identity is not a physical
    substance but is described rather as a social identity and is a psychological (and therefore non-material)
    concept. A psychosocial identity has no relation to a “physiologic range” as Dr. Adkins claims.
    Physiologic ranges apply only to physical molecules and substances which are measured objectively in
    a laboratory such as testosterone, estrogen, red blood cell counts, and creatinine to provide a few
    examples. Furthermore, the normal physiologic ranges for these items are based on biological sex (a
    physical property of human beings) and not gender identity (a psychological concept describing an
    internal feeling).




    1   See Laidlaw declaration sections II.C.1.a. and II.C.2.


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               I declare, pursuant to 28 U.S.C. § 1746, under penalty of perjury that the foregoing is true and

    correct.

               Executed August 8, 2023.




                                                               Michael K. Laidlaw, M.D.




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                    Attachment 1
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                                    Children’s Hospital Los Angeles
                            ASSENT TO PARTICIPATE IN A RESEARCH STUDY

                                          TRANS YOUTH CARE –
                                            BLOCKER COHORT



      Subject’s Name:




                                                                                            Study ID: CHLA-16-00108
       Medical Record                             Birth
             Number:                              Date:


    1. Dr. Olson is doing a research study about medication that can be used to stop
       you from going into puberty.

    2. We are asking you to take part in this research because we want to learn more




                                                                                            Valid From: 3/5/2019 To: 3/4/2020
       about what happens to children who are transgender and use a medicine to stop
       puberty. We want to see if it changes how your body works and want to know
       how you and your parents feel about not going into puberty.

    3. If you agree to be in this study, you will be asked to:
        Answer questions at the start of the research and 6 months, 1 year, 1½
          years, and 2 years from now.
             o If you have not had your puberty blocker put in within 3 months of
                 taking the first survey, you will be asked to retake the first survey.
             o The questions will take about 2 hours to complete each time and will
                 include:
                      how you feel about your body,
                      if you feel sad or happy,
                      other types of feelings that you are having.
        Let your doctor and some of the people who work with her look at and write
          down medical information about you.

    4. We will also ask your parent/legal guardian to answer questions about you and
       about how they feel.

    When you are in a research study, sometimes good things and bad things can
    happen:


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    5. Things that happen to children in research studies that make them feel bad are
       called “risks.” Some of the bad things for this research study could be:
        You might not like some of the questions we ask you. If you don’t like a
           question, you do not have to answer it or you can tell us you want to stop and
           don’t want to answer any more questions.
        We are very careful with the answers and information you give us so that
           people won’t see it if they’re not supposed to, but sometimes they might
           accidentally find out something.
       Not all of these things may happen to you. None of them may happen. Or things
       may happen that the doctors don’t know about yet.

    6. Things that happen to children in research studies that are good are called
       “benefits.” Some of the good things for this research study could be we could
       learn more about how this medicine affects children and how best to take care
       of transgender children in the future.

    7. We will do everything possible to keep your information private.

    8. Your parent will receive payment for each study visit.

    9. You do not have to be in this study if you don’t want to. You may stop being in
       this study at any time. Remember, being in this study is up to you.

    10. Please talk with your parents before you decide whether or not to be in this
        study. We will also ask your parents to give their permission for you to take
        part in this study. But even if your parents say “yes,” you can still decide not to
        do this.

    11. You can ask any questions that you have about the study. If you have a question
        later that you didn’t think of now, please write it down to help you remember.
        You can call me or ask me next time you see me.

                          323-361-3128




    Date: 6/23/2016
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    12. Signing your name at the bottom means that you agree to be in this study. Your
        doctors will still take good care of you whether or not you agree to be in this
        study.



    Contact for future research

    May someone from CHLA contact you to invite you to participate in future
    research? Please put a check to mark your decision

       _______Yes                    _______No



    Yes, I agree to be in this research study.



    _____________________________________                      ________________
    Signature of Subject                                       Date



    _____________________________________
    Print Name of Individual Obtaining Assent



    _____________________________________                      ________________
    Signature of Individual Obtaining Assent                   Date




    Routing of signed copies of the assent form:
    1) Give to the child (copy)
    2) Give to the parent/legal guardian (copy)
    3) Place in the Investigator's research files (original)



    Date: 6/23/2016
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                          Children’s Hospital Los Angeles
       CONSENT/PERMISSION/ASSENT1 TO PARTICIPATE IN A RESEARCH STUDY

                         The Impact of Early Medical Treatment in Transgender Youth
                                     Trans Youth Care – Blocker Cohort


             Subject’s Name:
                                                                           Birth
               CHLA#:
                                                                           Date:




                                                                                                                              Study ID: CHLA-16-00108
    You are invited to participate in a research study conducted by Johanna Olson-Kennedy, MD,
    from the Division of Adolescent and Young Adult Medicine at Children’s Hospital Los Angeles
    (CHLA). This research is sponsored by the Eunice Kennedy Shriver National Institute of Child
    Health and Human Development at the National Institutes of Health. Participation in this study is
    completely voluntary.

    The purpose of the study is to evaluate how taking a medication called gonadotropin releasing
    hormone (GnRH) agonists used for blocking puberty affects your body. We will do this by




                                                                                                                              Valid From: 3/5/2019 To: 3/4/2020
    looking at information about your bone health and lab results. The study also wants to
    understand the effects of preventing puberty on your and your parent’s or legal guardian’s mental
    health and psychological well-being. There will be a total of 110 youth participating in this
    study, along with one parent/legal guardian for each youth, at 4 sites across the United States.

    If you volunteer to participate in this study, your participation will last 2 years and involve:
        • For you:
            • Taking a survey on a computer at the start of the research and 6 months, 1 year, 1½
               years, and 2 years after your puberty blocker is put in. The surveys include questions
               about your gender identity, how you feel about your body, depression, and other
               mental health issues. The surveys will take about 2 hours to complete each time.
            • If you have not had your puberty blocker put in within 3 months of taking the first
               survey, you will be asked to retake the first survey.
            • Allowing the research team to collect information from your medical records such as
               your height and weight, blood pressure, lab results, bone health, medications you
               take, and diagnoses.
        • For your parent/legal guardian:
            • Completing a computer based survey about your child at the start of the research and
               6 months, 1 year, 1½ years, and 2 years after your child’s puberty blocker is put in.
               These surveys include questions about your child’s gender identity and quality of life.
               Additionally you will be asked about your experience as a caregiver of a gender non-
               conforming child. The surveys will take about 2 hours to complete each time.
            • Participating in an interview or additional questionnaires about your child’s behaviors
               and physical and mental health at the start of the research and 1 year and 2 years after

    1 This form also serves as the permission form for the parent(s) to read and sign. In this case, “You” refers to your

    child.

    Date: 1/4/2019
    IRB#: CHLA-16-00108
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               your child’s puberty blocker is put in. These interviews will take from 1 hour to 2
               hours.

    It is possible that some questions in the survey may make you feel uncomfortable. If you do not
    feel comfortable answering a question, you can choose not to answer that question or you can
    stop filling out the questionnaire. There is the potential of accidental release of confidential
    information. To protect against this risk, your name and any other personal identifying
    information will not be shared with anyone else. We will use a secret code on your surveys and
    forms, and the list that links your name and the secret code is kept in a password-protected file
    on the CHLA computer network. There may be additional risks to participation in this study that
    we do not know about and therefore cannot describe.

    You should not expect any direct benefit as a result of participating in this research; however, the
    information that we learn from this research can help us improve care for transgender youth in
    the future. The alternative to participation is to not participate.

    In consideration for your time participating in this research, the study team would like to offer
    you payment. The payments for participation are as follows: $50 for each visit; if you participate
    in all visits, the total amount is $400.

    If the payments are greater than $150 per visit or if there is a possibility that you could receive
    $600 or more for your participation in any Children’s Hospital Los Angeles studies, you will
    need to provide the name, address, date of birth, and social security number (or taxpayer ID
    number) of the person (family or friend) you’d like to receive the payments. If payments (for all
    research and/or clinical programs) in a calendar year equal $600 or more, the income will be
    reported to the IRS and a 1099 form will be issued. The person you designate to receive the
    payments can use this form with their income tax return, if appropriate.

    In addition to payments, and in consideration of the expenses you may have related to
    participation in the research, you or a family member or friend you designate will receive
    reimbursement for parking and/or transportation or be provided transportation, as needed. To
    receive reimbursements, you will need to provide a name and date of birth. For each expense,
    you will also need to submit receipts or submit a mileage reimbursement form. Reimbursements
    are not reported to the IRS.

    To receive either payments or reimbursements (or both), you will be issued a ClinCard, which is
    a specially designed debit card for clinical research. When a visit is completed, funds will be
    approved and loaded onto your card and can be used at your discretion. You will be issued one
    card for the duration of your participation. If your card is lost or stolen, please ask the research
    coordinator for a replacement ClinCard. If the ClinCard funds are not used within 6 months, a
    fee will be deducted. You will be provided details about the use of the ClinCard in a separate
    form.

    All personal information collected for payments or reimbursement is stored in a secure fashion
    and will be kept completely confidential.



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    If you don’t wish to receive payment or reimbursement (or both), you have other choices. You
    can decline payment and/or reimbursement or you can choose to donate the funds set aside for
    your participation to Children’s Hospital Los Angeles (a non-profit hospital), to be used in the
    area of greatest need or for a specific program you can designate.

    Please let the research team know how you would like to manage the funds set aside for your
    participation.

    This study includes procedures that are also a part of standard treatment. The cost of these
    procedures will be billed to your insurance or other third-party payer. Your family may be
    responsible for any co-pays or deductibles.

    Only the research team will know that you are a research subject and have access to the
    information you provide. You will not be identified in publications of the research results.
    Authorized representatives of the Department of Health and Human Services and the CHLA
    Institutional Review Board may review subject records but are bound by rules of confidentiality
    not to reveal your identity. To help us protect your privacy, we have obtained a Certificate of
    Confidentiality from the National Institutes of Health. With this Certificate, the researchers
    cannot be forced to disclose information that may identify you, even by a court subpoena, in any
    federal, state, or local civil, criminal, administrative, legislative, or other proceedings. The
    researchers will use the Certificate to resist any demands for information that would identify you,
    except as explained below. You should understand that a Certificate of Confidentiality does not
    prevent you or a member of your family from voluntarily releasing information about yourself or
    your involvement in this research. If an insurer, employer, or other person obtains your written
    consent to receive research information, then the researchers may not use the Certificate to
    withhold that information. The Certificate of Confidentiality does not prevent the researchers
    from disclosing voluntarily, without your consent, information that would identify you as a
    participant in the research project under the following circumstances:
             - voluntary disclosure by researchers of information on such things as child or elder
                abuse, reportable communicable diseases, or possible threat to self or others.
    A Certificate of Confidentiality does not represent an endorsement of the research study by the
    Department of Health and Human Services or the National Institutes of Health.

    Your choice about whether or not to participate will have no effect on your care, services or
    benefits at Children’s Hospital Los Angeles. If you agree to participate, but later decide to
    withdraw from this study, you may do so without affecting your rights to health care, services or
    other benefits at CHLA.

    You may be removed from the study by the investigator to protect your health or if other
    situations arise that make it necessary to do so. If you experience certain side effects such as
    depression, anxiety, or emotional distress because of your participation, you may have to drop
    out even if you would like to continue. The investigator, Dr. Olson-Kennedy, will make the
    decision and let you know if it is not possible for you to continue. The decision may be made
    either to protect your health and safety, or because it is part of the research plan that people who
    develop certain conditions may not continue to participate.



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    If there is significant new information found during the course of the study or the research plan is
    changed in a way that might affect your decision to continue participating in the study, you will
    be informed and your consent to continue participating in the study may be requested.

    If you have questions about the research or wish to report a concern or complaint about the
    research, the Principal Investigator, Dr. Olson, may be reached at 323-361-3128. You may
    withdraw from this study at any time and discontinue participation without penalty. You are not
    waiving any legal claims, rights or remedies because of your participation in this research study.
    If you have questions regarding the rights of research subjects or if you have complaints or
    concerns about the research and cannot reach the Principal Investigator; or just want to talk to
    someone other than the Investigator, you may call the CHLA Human Subjects Protection
    Program at 323-361-2265.


    Contact for future research

    May someone from CHLA contact you to invite you to participate in future research? Please
    provide your initials beside your decision.

       _______Yes          _______No [for subject to complete, if the subject is 14 years or older]

       _______Yes          _______No [for parent to complete, if subject is a minor]




           SIGNATURE OF RESEARCH SUBJECT (If the subject is 14 years or older)
   Your signature below indicates
          You have read this document and understand its meaning;
          You have had a chance to ask questions and have had these questions answered to your
           satisfaction;
          You consent/assent to your participation in this research study; and
          You will be given a signed copy of this.



    ____________________________________
    Print Name of Subject


    ____________________________________            ______________
    Signature of Subject                            Date




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         SIGNATURE OF PARENT(S)/LEGAL GUARDIAN(S) (If the subject is a minor)

    Your signature(s) below indicates
        You have read this document and understand its meaning;
        You have had a chance to ask questions and have had these questions answered to your
           satisfaction;
        You agree to your child’s participation in this research study;
        You agree to your own participation in this research study; and
        You will be given a signed copy of this form.



    ____________________________________ ____________________________________
    Print Name(s) of Parent(s)/Legal Guardian(s)


    ____________________________________           ______________
    Signature of Parent/Legal Guardian             Date


    ____________________________________           ______________
    Signature of Parent/Legal Guardian             Date


                     SIGNATURE OF INDIVIDUAL OBTAINING CONSENT

    I have explained the research to the subject and/or the subject’s parent(s)/legal guardian(s) and
    have answered all of their questions. I believe that they understand all of the information
    described in this document and freely give consent/permission/assent to participate.



    ____________________________________
    Print Name of Individual Obtaining Consent



    ____________________________________           ______________
    Signature of Individual Obtaining Consent      Date




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                             SIGNATURE OF WITNESS (if applicable)

   Your signature below indicates:
        I was present for the entire consent conference;
        The information in the consent document and any other written information was
           accurately explained to the subject and/or the subject’s parent(s)/legal guardian(s);
        The subject and/or the subject’s parent(s)/legal guardian(s) had an opportunity to ask
           questions and those questions were answered; and
        The subject and/or the subject’s parent(s)/legal guardian(s) voluntarily signed the
           consent/permission/assent form in my presence.

    ____________________________________
    Print Name of Witness


    ____________________________________            ______________
    Signature of Witness                            Date



    Routing of signed copies of the form:
    1) Give to the subject if at least 14 years old (copy)
    2) Give to the parent/legal guardian if subject is a minor (copy)
    3) Place in the Principal Investigator’s research file (original)




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                              Children’s Hospital Los Angeles
                    CONSENT TO PARTICIPATE IN A RESEARCH STUDY

                                  Addendum to Consent Form for
                     The Impact of Early Medical Treatment in Transgender Youth
                                          Trans Youth Care


          Subject’s Name:




                                                                                                         Study ID: CHLA-16-00108
                                                           Birth
             CHLA#:
                                                           Date:

    You are currently enrolled in a research study at Children’s Hospital Los Angeles. When you
    began the study you were under the age of 18 years and your parent or legal guardian gave their
    permission for you to participate. Now that you are an adult, you have the legal right to consent
    for your own continued participation.

    The original consent form for the study is attached. A member of the research team will discuss




                                                                                                         Valid From: 3/5/2019 To: 3/4/2020
    the remaining study activities with you. Participation in this study is completely voluntary.
    Please read the information provided, and ask questions about anything you do not understand,
    before deciding whether or not to participate.

                             SIGNATURE OF RESEARCH SUBJECT
   Your signature below indicates
          You have read this document and understand its meaning;
          You have had a chance to ask questions and have had these questions answered to your
           satisfaction;
          You consent to your participation in this research study; and
          You will be given a signed copy of this.


    ____________________________________
    Print Name of Subject


    ____________________________________           ______________
    Signature of Subject                           Date




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                      SIGNATURE OF INDIVIDUAL OBTAINING CONSENT
    I have explained the research to the subject and have answered all of his/her questions. I believe
    that he/she understands all of the information described in this document and freely gives
    consent to participate.


    ____________________________________
    Print Name of Individual Obtaining Consent


    ____________________________________             ______________
    Signature of Individual Obtaining Consent        Date

                             SIGNATURE OF WITNESS (if applicable)
   Your signature below indicates:
        I was present for the entire consent conference;
        The information in the consent document and any other written information was
           accurately explained to the subject and/or the subject’s parent(s)/legal guardian(s);
        The subject and/or the subject’s parent(s)/legal guardian(s) had an opportunity to ask
           questions and those questions were answered; and
        The subject and/or the subject’s parent(s)/legal guardian(s) voluntarily signed the
           consent/permission/assent form in my presence.


    ____________________________________
    Print Name of Witness


    ____________________________________             ______________
    Signature of Witness                             Date

    Routing of signed copies of the consent form:
    1) Give to the subject (copy)
    2) Place in the Principal Investigator's research file (original)




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                                    Children’s Hospital Los Angeles
                            ASSENT TO PARTICIPATE IN A RESEARCH STUDY

                                       TRANS YOUTH CARE –
                                GENDER-AFFIRMING HORMONE COHORT




                                                                                             Study ID: CHLA-16-00108
      Subject’s Name:
       Medical Record                             Birth
             Number:                              Date:


    1. Dr. Olson-Kennedy is doing a research study about how using gender-affirming
       hormones for gender transition affect children and adolescents.

    2. We are asking you to take part in this research because we want to learn more




                                                                                             Valid From: 3/5/2019 To: 3/4/2020
       about what happens to children and adolescents who are transgender and use
       gender-affirming hormones for gender transition. We want to see if it changes
       how your body works and want to know how you feel about transitioning your
       body to match your gender.

    3. If you agree to be in this study, you will be asked to:
        Answer questions at the start of the research, and 6 months, 1 year, 1½
          years, and 2 years after you start gender-affirming hormones.
             o If you have not started gender-affirming hormones within 3 months
                 of taking the first survey – at the start of the research – you will be
                 asked to retake the first survey.
             o The questions will take about 2 hours to complete each time and will
                 include:
                      how you feel about your body
                      if you feel sad or happy
                      drug and alcohol use
                      your physical activity and types of food you eat
                      other types of feelings that you are having
             o At your last study visit, we will also ask you about how it felt being in
                 the study and what you thought about some of the questions we asked
                 you.



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          Let your doctor and some of the people who work with them look at and
           write down medical information about you.

    When you are in a research study, sometimes good things and bad things can
    happen:

    4. Things that happen to children in research studies that make them feel bad are
       called “risks.” Some of the bad things for this research study could be:
        You might not like some of the questions we ask you. If you don’t like a
           question, you do not have to answer it or you can tell us you want to stop and
           don’t want to answer any more questions.
        We are very careful with the answers and information you give us so that
           people won’t see it if they’re not supposed to, but sometimes they might
           accidentally find out something.
       Not all of these things may happen to you. None of them may happen. Or things
       may happen that the doctors don’t know about yet.

    5. Things that happen to children in research studies that are good are called
       “benefits.” Some of the good things for this research study could be we could
       learn more about how this medicine affects children and how best to take care
       of transgender children in the future.

    6. We will do everything possible to keep your information private.

    7. You do not have to be in this study if you don’t want to. You may stop being in
       this study at any time. Remember, being in this study is up to you.

    8. Your parent will receive payment for each study visit.

    9. Please talk with your parent/legal guardian before you decide whether or not to
       be in this study. We will also ask your parent/legal guardian to give their
       permission for you to take part in this study. But even if your parent/legal
       guardian say “yes,” you can still decide not to do this.




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    10. You can ask any questions that you have about the study. If you have a question
        later that you didn’t think of now, please write it down to help you remember.
        You can call me or ask me next time you see me.



                          323-361-3128

    11. Signing your name at the bottom means that you agree to be in this study. Your
        doctors will still take good care of you whether or not you agree to be in this
        study.



    Contact for future research

    May someone from CHLA contact you to invite you to participate in future
    research? Please put a check to mark your decision

       _______Yes                    _______No


    Yes, I agree to be in this research study.



    _____________________________________                      ________________
    Signature of Subject                                       Date



    _____________________________________
    Print Name of Individual Obtaining Assent



    _____________________________________                      ________________
    Signature of Individual Obtaining Assent                   Date

    Routing of signed copies of the assent form:
    1) Give to the child (copy)
    2) Give to the parent/legal guardian (copy)
    3) Place in the Investigator's research files (original)


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                          Children’s Hospital Los Angeles
       CONSENT/PERMISSION/ASSENT1 TO PARTICIPATE IN A RESEARCH STUDY

                         The Impact of Early Medical Treatment in Transgender Youth
                           Trans Youth Care – Gender-Affirming Hormone Cohort


             Subject’s Name:
                                                                         Birth
               CHLA#:
                                                                         Date:




                                                                                                                              Study ID: CHLA-16-00108
    You are invited to participate in a research study conducted by Johanna Olson-Kennedy, MD,
    from the Division of Adolescent and Young Adult Medicine at Children’s Hospital Los Angeles
    (CHLA). This research is sponsored by the Eunice Kennedy Shriver National Institute of Child
    Health and Human Development at the National Institutes of Health. Participation in this study is
    completely voluntary.

    The purpose of the study is to evaluate how using gender-affirming hormones for gender
    transition affect your body by looking at your lab results, vital signs, and body changes, such as




                                                                                                                              Valid From: 3/5/2019 To: 3/4/2020
    how your liver is working, what your blood sugar level is, and what your blood pressure is. The
    study also wants to understand the effects of using gender-affirming hormones for gender
    transition on your mental health and psychological well-being. There will be a total of 350 youth
    participating in this study at 4 sites across the United States.

    If you volunteer to participate in this study, your participation will last 2 years and involve:
        • Taking a survey on a computer at the start of the research and 6 months, 1 year, 1½ years,
            and 2 years after you start gender-affirming hormones. The surveys include questions
            about your gender identity, your gender-affirming care, your physical activity, what types
            of food you eat, how you feel about your body, depression, drug and alcohol use, and
            other mental health issues. The last survey will include questions about how you felt
            about being in the study and what you thought about some of the questions you were
            asked. The surveys will take about 2 hours to complete each time.
        • Participating in an interview or additional questionnaires about your behaviors and
            physical and mental health at the start of the research, 1 year, and 2 years after you start
            gender-affirming hormones. These interviews or questionnaires will take from 1 to 2
            hours.
        • If you have not started gender-affirming hormones within 3 months of taking the first
            survey – at the start of the research – you will be asked to retake the first survey.
        • Allowing the research team to collect information from you or your medical records such
            as your height and weight, blood pressure, lab results, medications you take, diagnoses,
            and body changes from starting gender-affirming hormones.




    1 This form also serves as the permission form for the parent(s) to read and sign. In this case, “You” refers to your

    child.

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    It is possible that some questions in the survey may make you feel uncomfortable. If you do not
    feel comfortable answering a question, you can choose not to answer that question or you can
    stop filling out the questionnaire. There is the potential of accidental release of confidential
    information. To protect against this risk, your name and any other personal identifying
    information will not be shared with anyone else. We will use a secret code on your surveys and
    forms, and the list that links your name and the secret code is kept in a password-protected file
    on the CHLA computer network. There may be additional risks to participation in this study that
    we do not know about and therefore cannot describe.

    You should not expect any direct benefit as a result of participating in this research; however, the
    information that we learn from this research can help us improve care for transgender youth in
    the future. The alternative to participation is to not participate.

    In consideration for your time participating in this research, the study team would like to offer
    you payment. The payments for participation are as follows: $50 for each visit; if you participate
    in all visits, the total amount is $400.

    If the payments are greater than $150 per visit or if there is a possibility that you could receive
    $600 or more for your participation in any Children’s Hospital Los Angeles studies, you will
    need to provide the name, address, date of birth, and social security number (or taxpayer ID
    number) of the person (family or friend) you’d like to receive the payments. If payments (for all
    research and/or clinical programs) in a calendar year equal $600 or more, the income will be
    reported to the IRS and a 1099 form will be issued. The person you designate to receive the
    payments can use this form with their income tax return, if appropriate.

    In addition to payments, and in consideration of the expenses you may have related to
    participation in the research, you or a family member or friend you designate will receive
    reimbursement for parking and/or transportation or be provided transportation, as needed. To
    receive reimbursements, you will need to provide a name and date of birth. For each expense,
    you will also need to submit receipts or submit a mileage reimbursement form. Reimbursements
    are not reported to the IRS.

    To receive either payments or reimbursements (or both), you will be issued a ClinCard, which is
    a specially designed debit card for clinical research. When a visit is completed, funds will be
    approved and loaded onto your card and can be used at your discretion. You will be issued one
    card for the duration of your participation. If your card is lost or stolen, please ask the research
    coordinator for a replacement ClinCard. If the ClinCard funds are not used within 6 months, a
    fee will be deducted. You will be provided details about the use of the ClinCard in a separate
    form.

    All personal information collected for payments or reimbursement is stored in a secure fashion
    and will be kept completely confidential.

    If you don’t wish to receive payment or reimbursement (or both), you have other choices. You
    can decline payment and/or reimbursement or you can choose to donate the funds set aside for
    your participation to Children’s Hospital Los Angeles (a non-profit hospital), to be used in the
    area of greatest need or for a specific program you can designate.

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    Please let the research team know how you would like to manage the funds set aside for your
    participation.

    This study includes procedures that are also a part of standard treatment. The cost of these
    procedures will be billed to your insurance or other third-party payer. Your family may be
    responsible for any co-pays or deductibles.

    Only the research team will know that you are a research subject and have access to the
    information you provide. You will not be identified in publications of the research results.
    Authorized representatives of the Department of Health and Human Services and the CHLA
    Institutional Review Board may review subject records but are bound by rules of confidentiality
    not to reveal your identity. To help us protect your privacy, we have obtained a Certificate of
    Confidentiality from the National Institutes of Health. With this Certificate, the researchers
    cannot be forced to disclose information that may identify you, even by a court subpoena, in any
    federal, state, or local civil, criminal, administrative, legislative, or other proceedings. The
    researchers will use the Certificate to resist any demands for information that would identify you,
    except as explained below. You should understand that a Certificate of Confidentiality does not
    prevent you or a member of your family from voluntarily releasing information about yourself or
    your involvement in this research. If an insurer, employer, or other person obtains your written
    consent to receive research information, then the researchers may not use the Certificate to
    withhold that information. The Certificate of Confidentiality does not prevent the researchers
    from disclosing voluntarily, without your consent, information that would identify you as a
    participant in the research project under the following circumstances:
             - voluntary disclosure by researchers of information on such things as child or elder
                abuse, reportable communicable diseases, or possible threat to self or others.
    A Certificate of Confidentiality does not represent an endorsement of the research study by the
    Department of Health and Human Services or the National Institutes of Health.

    Your choice about whether or not to participate will have no effect on your care, services or
    benefits at Children’s Hospital Los Angeles. If you agree to participate, but later decide to
    withdraw from this study, you may do so without affecting your rights to health care, services or
    other benefits at CHLA.

    You may be removed from the study by the investigator to protect your health or if other
    situations arise that make it necessary to do so. If you experience certain side effects such as
    depression, anxiety, or emotional distress because of your participation, you may have to drop
    out even if you would like to continue. The investigator, Dr. Olson-Kennedy, will make the
    decision and let you know if it is not possible for you to continue. The decision may be made
    either to protect your health and safety, or because it is part of the research plan that people who
    develop certain conditions may not continue to participate.

    If there is significant new information found during the course of the study or the research plan is
    changed in a way that might affect your decision to continue participating in the study, you will
    be informed and your consent to continue participating in the study may be requested.



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    If you have questions about the research or wish to report a concern or complaint about the
    research, the Principal Investigator, Dr. Olson-Kennedy, may be reached at 323-361-3128. You
    may withdraw from this study at any time and discontinue participation without penalty. You are
    not waiving any legal claims, rights or remedies because of your participation in this research
    study. If you have questions regarding the rights of research subjects or if you have complaints
    or concerns about the research and cannot reach the Principal Investigator; or just want to talk to
    someone other than the Investigator, you may call the CHLA Human Subjects Protection
    Program at 323-361-2265.




    Contact for future research

    May someone from CHLA contact you to invite you to participate in future research? Please
    provide your initials beside your decision.

       _______Yes         _______No [for subject to complete, if the subject is 14 years or older]

       _______Yes         _______No [for parent to complete, if subject is a minor]




           SIGNATURE OF RESEARCH SUBJECT (If the subject is 14 years or older)

   Your signature below indicates
          You have read this document and understand its meaning;
          You have had a chance to ask questions and have had these questions answered to your
           satisfaction;
          You consent/assent to your participation in this research study; and
          You will be given a signed copy of this.

    ____________________________________
    Print Name of Subject


    ____________________________________            ______________
    Signature of Subject                            Date




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         SIGNATURE OF PARENT(S)/LEGAL GUARDIAN(S) (If the subject is a minor)

    Your signature(s) below indicates
        You have read this document and understand its meaning;
        You have had a chance to ask questions and have had these questions answered to your
           satisfaction;
        You agree to your child’s participation in this research study; and
        You will be given a signed copy of this form.

    ____________________________________ ____________________________________
    Print Name(s) of Parent(s)/Legal Guardian(s)


    ____________________________________           ______________
    Signature of Parent/Legal Guardian             Date


    ____________________________________           ______________
    Signature of Parent/Legal Guardian             Date



                     SIGNATURE OF INDIVIDUAL OBTAINING CONSENT

    I have explained the research to the subject and/or the subject’s parent(s)/legal guardian(s) and
    have answered all of their questions. I believe that they understand all of the information
    described in this document and freely give consent/permission/assent to participate.


    ____________________________________
    Print Name of Individual Obtaining Consent


    ____________________________________           ______________
    Signature of Individual Obtaining Consent      Date




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                             SIGNATURE OF WITNESS (if applicable)
   Your signature below indicates:
        I was present for the entire consent conference;
        The information in the consent document and any other written information was
           accurately explained to the subject and/or the subject’s parent(s)/legal guardian(s);
        The subject and/or the subject’s parent(s)/legal guardian(s) had an opportunity to ask
           questions and those questions were answered; and
        The subject and/or the subject’s parent(s)/legal guardian(s) voluntarily signed the
           consent/permission/assent form in my presence.

    ____________________________________
    Print Name of Witness


    ____________________________________            ______________
    Signature of Witness                            Date




    Routing of signed copies of the form:
    1) Give to the subject if at least 14 years old (copy)
    2) Give to the parent/legal guardian if subject is a minor (copy)
    3) Place in the Principal Investigator’s research file (original)




    Date: 1/22/2019
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                              Children’s Hospital Los Angeles
       CONSENT/PERMISSION/ASSENT1 TO PARTICIPATE IN A RESEARCH STUDY
                The Impact of Early Medical Treatment in Transgender Youth
                  Trans Youth Care – Gender-Affirming Hormone Cohort
                              Addendum: New Information


             Subject’s Name:




                                                                                                                               Study ID: CHLA-16-00108
                                                                        Birth
               CHLA#:
                                                                        Date:


    You were previously informed that if there was significant new information found during the
    course of the study or the research plan was changed in a way that might affect your decision to
    continue participating in the study, you would be informed and your consent to continue
    participating in the study could be requested.




                                                                                                                               Valid From: 3/5/2019 To: 3/4/2020
    The research plan for the study in which you are currently participating at Children’s Hospital
    Los Angeles has changed.

    The research study team would like to ask you some questions about how you felt being in the
    research study and how you felt answering some of the questions in the computer survey.

    You have the right to withdraw from this research study at any time and discontinue participation
    without penalty. Your choice about whether or not to continue participating will have no effect
    on your care, services or benefits at Children’s Hospital Los Angeles.

    The original consent form for the study is attached. A member of the research team will discuss
    the new information with you. Continued participation in this study is completely voluntary.
    Please read the information provided and ask questions about anything you do not understand,
    before deciding whether or not to continue participating in the research.

    If after receiving this information you agree to continue taking part in this research study, please
    sign below.




    1 This form also serves as the permission form for the parent(s) to read and sign.   In this case, “You” refers to your
    child.

    Date: 12/20/2018
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           SIGNATURE OF RESEARCH SUBJECT (If the subject is 14 years or older)
   Your signature below indicates
          You have read this document and understand its meaning;
          You have had a chance to ask questions and have had these questions answered to your
           satisfaction;
          You consent/assent to your participation in this research study; and
          You will be given a signed copy of this form.


    ____________________________________
    Print Name of Subject


    ____________________________________            ______________
    Signature of Subject                            Date

        SIGNATURE OF PARENT(S)/LEGAL GUARDIAN(S) (If the subject is a minor)
    Your signature(s) below indicates
        You have read this document and understand its meaning;
        You have had a chance to ask questions and have had these questions answered to your
           satisfaction;
        You agree to your child’s participation in this research study; and
        You will be given a signed copy of this form.

    ____________________________________ ____________________________________
    Print Name(s) of Parent(s)/Legal Guardian(s)

    ____________________________________            ______________
    Signature of Parent/Legal Guardian              Date


    ____________________________________            ______________
    Signature of Parent/Legal Guardian              Date

                      SIGNATURE OF INDIVIDUAL OBTAINING CONSENT
    I have explained the research to the subject and/or the subject’s parent(s)/legal guardian(s) and
    have answered all of their questions. I believe that they understand all of the information
    described in this document and freely give consent/permission/assent to participate.


    ____________________________________
    Print Name of Individual Obtaining Consent


    ____________________________________            ______________
    Signature of Individual Obtaining Consent       Date

    Date: 12/20/2018
    IRB#: CHLA-16-00108
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                              SIGNATURE OF WITNESS (if applicable)
    My signature as Witness indicates that the subject and/or the subject’s parent(s)/legal guardian(s)
    voluntarily signed this consent/permission/assent form addendum in my presence.


    ____________________________________
    Print Name of Witness


    ____________________________________             ______________
    Signature of Witness                             Date


                          SIGNATURE OF INTERPRETER (if applicable)


    ____________________________________
    Print Name of Interpreter


    ____________________________________             ______________
    Signature of Interpreter                         Date


    Study Team Instructions: Only complete the section below if assent is required, and either only
    verbal assent was obtained from the subject or assent was not obtained from the subject.
    Please check appropriate box and sign below.

       The undersigned, _____________________, hereby certifies that verbal assent was obtained
    from the subject.

        Assent was not obtained from the subject. (Please state the reason. Examples include: subject
    is an infant; subject is comatose; subject lacks cognitive abilities to understand the information.)

    _____________________________________________________________________________

    _____________________________________________________________________________
    Date:_____________

    Time:______________                  Signature_________________________________________


    Routing of signed copies of the form:
    1) Give to the subject (copy)
    2) Give to the parent/legal guardian if subject is a minor (copy)
    3) Place in the Principal Investigator's research file (original)

    Date: 12/20/2018
    IRB#: CHLA-16-00108
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                 Informed Consent Form for Feminizing Medications
                     (transfeminine individuals on GnRH analogs)
    This form refers to the use of estrogen by persons in the male-to-female spectrum who wish to become feminized
    to reduce gender dysphoria and facilitate a more feminine gender presentation. While there are risks associated
    with taking feminizing medications, when appropriately prescribed they can greatly improve mental health and
    quality of life.


    This form covers the known and unknown benefits, risks, and changes that may occur from taking feminizing
    medication. If you have any questions or concerns about the information below, please talk with the people
    involved in your care so you can make fully informed decisions about your treatment. It is your right to seek
    another opinion if you want additional perspective on any aspect of your care.

    1. Estrogen is being prescribed to reduce male physical features and feminize the body.

    2. The feminizing effects of estrogen can take several months or longer to become noticeable, and that the rate
    and degree of change can’t be predicted.

    3. If you are taking estrogen you will probably develop breasts, and:

            • Although most breast development occurs over the first two years of starting hormones, they
              may take several years to develop to their full size.
            • Even if estrogen is stopped, the breast tissue that has developed will remain.
            • There may be milky nipple discharge (galactorrhea). This can be caused by taking estrogen or
              by an underlying medical condition. It is advised to check with a doctor to determine the cause.
            • Reported cases of breast cancer in transgender women are extraordinarily rare, and only 10
              cases have been reported in the literature as of 2016.

    4. The following changes are generally not permanent (that is, they will likely reverse if I stop taking feminizing
    medications):

            • Skin may become softer.

            • Fat may redistribute to a more feminine pattern (decreased in abdomen, increased on
              buttocks/hips/thighs – changing from “apple shape” to “pear shape”).

    5. Taking feminizing medications after or while being on GnRH analogs will likely lead to infertility, particularly
    when GnRH analogs have been started in early puberty.

            • Sperm will not mature, leading to infertility. The ability to make sperm normally may or may not
              come back even after stopping taking feminizing medication.

            • The amount of fluid ejaculated may be reduced.
            • There is typically a decrease in morning and spontaneous erections.
            • Erections may not be firm enough for penetrative sex.
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            • Libido (sex drive) may decrease.


    Risks of Feminizing Medications
    The medical effects and safety of feminizing medications in youth younger than age 18 are not fully
    understood, there may be long-term risks that are not yet known. You are strongly advised not to take more
    medication than prescribed, as this increases health risks. Taking more than prescribed will not make
    feminization happen more quickly or increase the degree of change. Also, extra estrogen can be converted to
    testosterone, which may slow or stop feminization.

    6. Estrogen minimally increases the risk of blood clots, which can result in:

           pulmonary embolism (blood clot to the lungs), which may cause permanent lung damage or death
           stroke, which may cause permanent brain damage or death
           heart attack
           chronic leg vein problems

    If you experience any of the following symptoms, you should call 911, or go to the emergency room:

           Unexplained shortness of breath
           Rapid breathing
           Chest pain
           Rapid heart rate
           Light headedness or passing out
           Leg pain or tenderness, especially in the calf
           Leg swelling


    The risk of blood clots is worse if you smoke cigarettes. Please be advised that you should stop smoking
    completely if you start taking estrogen.

    7. Estrogen can occasionally result in the following physiologic changes:

           increase deposits of fat around my internal organs, which is associated with increased risk for
            diabetes and heart disease.
           increased blood pressure
           increased risk of gallstones
           nausea and vomiting, similar to morning sickness in pregnant women
           headaches or migraines

    8. In very rare instances, estrogen increases the risk of non-cancerous tumors of the pituitary gland
    (prolactinoma). Although prolactinomas are typically not life-threatening, it can damage vision and cause
    headaches. Your prolactin will be checked when you first start taking estrogen.

    9. Dangerous side effects from estrogen are greater in those who: smoke, are overweight, have a history
    of blood clots or high blood pressure.

    Feminizing medications will result in changes that will be noticeable by other people, and some
    transgender people in similar circumstances have experienced harassment, discrimination, and violence,
    while others have lost support of loved ones. Please be advised that referrals can be made for
    support/counseling if this would be helpful.



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    Some people experience changes in their mood when taking estrogen. We strongly encourage youth to
    establish or continue in mental health therapy for support of this change, and other challenges that may
    arise as a result of physical gender transition.



    Preventing Medical Complications
    Taking feminizing medications as prescribed and letting your health care provider know if you are not happy
    with the treatment or are experiencing any problems helps prevent potential complications.

    The right dose or type of medication prescribed for you may not be the same as for someone else, so it’s best
    not to compare to others also undergoing physical gender transition.

    Physical examinations and blood tests are needed on a regular basis to check for negative side effects of
    feminizing medications.

    Some medical conditions make it dangerous to take estrogen. If your doctor suspects you might have one of
    these conditions, they may want to get those issues controlled before you start taking hormones.

    You can choose to stop taking feminizing medication at any time, it is advised that you do this with the help of
    your doctor to make sure there are no negative reactions to stopping.

    My signature below confirms that:

                o   My doctor has talked with me about the benefits and risks of feminizing medication, the
                    possible or likely consequences of hormone therapy, and potential alternative treatment
                    options.

                o   I understand the risks that may be involved.

                o   I understand that this form covers known effects and risks and that there may be long-term
                    effects or risks that are not yet known.

                o   I have had sufficient opportunity to discuss treatment options with my doctor. All of my
                    questions have been answered to my satisfaction.


    ____________________________________              __________________
    Patient Signature                                       Date

    ____________________________________              __________________
    Parent/Caretaker Signature                              Date

    ____________________________________              __________________
    Parent/Caretaker Signature                              Date

    ____________________________________              __________________
    Provider Signature                                      Date




                                                                                                               3
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             Informed Consent Form for Feminizing Medications
    This form refers to the use of estrogen and/or androgen antagonists (sometimes called “anti-androgens”
    or “testosterone blockers”) by persons in the male-to-female spectrum who wish to become feminized to
    reduce gender dysphoria and facilitate a more feminine gender presentation. While there are risks
    associated with taking feminizing medications, when appropriately prescribed they can greatly improve
    mental health and quality of life.

    This form covers the known and unknown benefits, risks, and changes that may occur from taking
    feminizing medication. If you have any questions or concerns about the information below, please talk
    with the people involved in your care so you can make fully informed decisions about your treatment. It is
    your right to seek another opinion if you want additional perspective on any aspect of your care.


    Feminizing Effects
    1. Estrogen, androgen antagonists, or a combination of the two may be prescribed to reduce male
    physical features and feminize the body.

    2. The feminizing effects of estrogen and androgen antagonists can take several months or longer to
    become noticeable, and that the rate and degree of change can’t be predicted.

    3. If you are taking estrogen you will probably develop breasts, and:

            • Although most breast development occurs over the first two years of starting hormones, they
              may take several years to develop to their full size.
            • Even if estrogen is stopped, the breast tissue that has developed will remain.
            • There may be milky nipple discharge (galactorrhea). This can be caused by taking estrogen or
              by an underlying medical condition. It is advised to check with a doctor to determine the cause.
            • Reported cases of breast cancer in transgender women are extraordinarily rare, and only 10
              cases have been reported in the literature as of 2016.

    4. The following changes are generally not permanent (that is, they will likely reverse if I stop taking
    feminizing medications):

            • Skin may become softer.

            • Muscle mass decreases and there may be a decrease in upper body strength.

            • Body hair growth may become less noticeable and grow more slowly, but it will likely not stop
              completely even after years on medication.

            • Male pattern baldness may slow down, but will probably not stop completely, and hair that has
              already been lost will likely not grow back.

            • Fat may redistribute to a more feminine pattern (decreased in abdomen, increased on
              buttocks/hips/thighs – changing from “apple shape” to “pear shape”).
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    5. Feminizing medications will make the testicles produce less testosterone, which can affect overall sexual
    function:

            • Sperm may not mature, leading to reduced fertility. The ability to make sperm normally may or may
            not come back even after stopping taking feminizing medication. The options for sperm banking have
            been explained. People taking estrogen may still be able to make someone pregnant.

            • Testicles may shrink by 25-50%. Regular testicular examinations are still recommended.
            • The amount of fluid ejaculated may be reduced.
            • There is typically a decrease in morning and spontaneous erections.
            • Erections may not be firm enough for penetrative sex.
            • Libido (sex drive) may decrease.

    6. Some aspects of body are not significantly changed by feminizing medications:

            • Beard/moustache hair may grow more slowly and be less noticeable, but will not go away.
            • Voice pitch will not rise and speech patterns will not become more feminine.
            • The laryngeal prominence (“Adam’s apple”) will not shrink.

    Although feminizing medication does not change these features, there are other treatments that may be
    helpful. If there are any concerns about these issues, referrals can be provided to help explore treatment
    options.


    Risks of Feminizing Medications
    The medical effects and safety of feminizing medications in youth younger than age 18 are not fully
    understood, and that there may be long-term risks that are not yet known. You are strongly advised not to
    take more medication than prescribed, as this increases health risks. Taking more than prescribed will not
    make feminization happen more quickly or increase the degree of change. Also, extra estrogen can be
    converted to testosterone, which may slow or stop feminization.

    7. Estrogen minimally increases the risk of blood clots, which can result in:

           pulmonary embolism (blood clot to the lungs), which may cause permanent lung damage or death
           stroke, which may cause permanent brain damage or death
           heart attack
           chronic leg vein problems

    If you experience any of the following symptoms, you should call 911, or go to the emergency room:

           Unexplained shortness of breath
           Rapid breathing
           Chest pain
           Rapid heart rate
           Light headedness or passing out
           Leg pain or tenderness, especially in the calf
           Leg swelling




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    The risk of blood clots is worse if you smoke cigarettes. Please be advised that you should stop smoking
    completely if you start taking estrogen.


    8. Estrogen can occasionally result in the following physiologic changes:

           increase deposits of fat around my internal organs, which is associated with increased risk for
            diabetes and heart disease.
           increased blood pressure
           increased risk of gallstones
           nausea and vomiting, similar to morning sickness in pregnant women
           headaches or migraines


    9. In very rare instances, estrogen increases the risk of non-cancerous tumors of the pituitary gland
    (prolactinoma). Although prolactinomas are typically not life-threatening, it can damage vision and cause
    headaches. Your prolactin will be checked when you first start taking estrogen.

    10. Dangerous side effects from estrogen are greater in those who: smoke, are overweight, have a
    history of blood clots or high blood pressure.

    Feminizing medications will result in changes that will be noticeable by other people, and that some
    transgender people in similar circumstances have experienced harassment, discrimination, and violence,
    while others have lost support of loved ones. Please be advised that referrals can be made for
    support/counseling if this would be helpful.

    Some people experience changes in their mood when taking estrogen. We strongly encourage youth to
    establish or continue in mental health therapy for support of this change, and other challenges that may
    arise as a result of physical gender transition.


    Risks Associated with Androgen Antagonists
    Spironolactone affects the balance of water and salts in the kidneys, and that this may:

                    • increase the amount of urine produced, making it necessary to urinate more frequently
                    • reduce blood pressure
                    • increase thirst
                    • rarely, cause high levels of potassium in the blood, which can cause changes to heart
                    rhythm that may be life-threatening


    Preventing Medical Complications
    Taking feminizing medications as prescribed and letting your health care provider know if you are not happy
    with the treatment or are experiencing any problems helps prevent potential complications.

    The right dose or type of medication prescribed for you may not be the same as for someone else, so it’s best
    not to compare to others also undergoing physical gender transition.

    Physical examinations and blood tests are needed on a regular basis to check for negative side effects of
    feminizing medications.




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    Some medical conditions make it dangerous to take estrogen. If your doctor suspects you might have one of
    these conditions, they may want to get those issues controlled before you start taking hormones.

    You can choose to stop taking feminizing medication at any time, it is advised that you do this with the help of
    your doctor to make sure there are no negative reactions to stopping.

    My signature below confirms that:

                    o   My doctor has talked with me about the benefits and risks of feminizing medication, the
                        possible or likely consequences of hormone therapy, and potential alternative treatment
                        options.

                    o   I understand the risks that may be involved.

                    o   I understand that this form covers known effects and risks and that there may be long-
                        term effects or risks that are not yet known.

                    o   I have had sufficient opportunity to discuss treatment options with my doctor. All of my
                        questions have been answered to my satisfaction.


    ____________________________________                 __________________
    Patient Signature                                          Date

    ____________________________________                 __________________
    Parent/Caretaker Signature                                 Date

    ____________________________________                 __________________
    Parent/Caretaker Signature                                 Date

    ____________________________________                  __________________
    Provider Signature                                          Date




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                    PUBERTAL BLOCKERS FOR MINORS IN EARLY ADOLESCENCE

                                         Parent or Guardian Consent

    Before initiating a medication for your child to put puberty “on hold”, there are several things you need
    to know. There are possible advantages, disadvantages and risks with pubertal blockers. It's
    important that you understand all of this information before your child begins the medication.

    Please read the following carefully and ask us any questions. We want you to be very comfortable
    and sure of what pubertal blockers offer your child.

    After your questions and concerns are addressed and you have decided to proceed with the pubertal
    blocker medication for your child, both of you will need to sign this information and consent form.


    What are the different medications that can help to stop the physical changes of puberty?

    The main way that the physical changes of puberty can be put on hold is by blocking the signal from
    the brain to the organs that make the hormones of puberty. These hormones are estrogen and
    testosterone. Estrogen is made by the ovaries. Testosterone is made by the testicles.

    The medications are called Pubertal Blockers. They are also known as a class of medication called
    GnRH analogues. These medications are given monthly, once every three months, or in the form of
    an implant that is placed in the upper arm, and stays in for 12-24 months. This medication is effective
    for both males and females. They can be started just after the early physical changes of puberty.

    For transgender girls there are alternative medicines that can block the effect of testosterone. The
    most common medication of this type is called spironolactone. There is a separate consent form for
    this medication. Spironolactone is not as effective at blocking puberty in transgender girls, but it is
    much less expensive.

    Every medication has risks, benefits, and side effects that are important to understand before starting.
    It is also important to know how they work.




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    Medications for Blocking Puberty

          Puberty Blockers are used to help temporarily suspend or block the physical changes of
           puberty for your child.

          It can take several months for the medication to be effective. While no one can predict how
           quickly or slowly your child’s body will respond, most youth respond within 3-4 weeks of
           initiating blockers.

          This medication is not specifically made for the purpose of blocking puberty (they are not FDA
           approved for this purpose) in transgender youth, however pediatric endocrinologists
           (children’s doctors who work with hormones and puberty), recommend these medications if
           the physical changes of puberty need to be postponed. They have been in use for this
           purpose for more than 30 years.

          The medication is not permanent. If your child stops getting the injections, or has the implant
           removed, in about six months their body will restart the changes of puberty at the
           developmental stage they were at when they started the hormone blocker.

          By taking these medications, your child’s body will not be making the hormones of puberty,
           testosterone or estrogen.

          Providing these medicines to your child may assist in avoiding the unhappiness and trauma of
           unwanted puberty, giving your child the opportunity to develop in their affirmed gender, with a
           better fit between body and psyche. It may also help them avoid the need for surgeries and
           other treatments (i.e. mastectomies for transmen, tracheal shaving or electrolysis for
           transwomen) that would be required to try to reverse the effects of puberty.

          If you are interested in getting more information about puberty suppression, we can refer you
           to an endocrinologist.

          We recommend that your child and family participate in therapy with a therapist experienced
           in gender issues while your child is taking the hormone blocker.

    Risks of Puberty Blockers

          The side effects and the safety of these medicines are not completely understood. There may
           be long-term risks that are not yet known.

          If your child starts puberty blockers in the earliest stages of puberty, and then goes on to
           gender affirming hormones, they will not develop sperm or eggs. This means that they will not
           be able to have biological children. This is an important aspect of blocking puberty and
           progressing to hormones that you should understand prior to moving forward with puberty
           suppression. If your child discontinues the use of blockers, and does not go on gender
           affirming hormones, they will continue their pubertal development about 6-12 months after
           stopping the medication, and fertility would be maintained.

          While on puberty blockers, your child’s bone density will go back to developing at a pre-
           pubertal rate. While the clinical impact of this is not yet known, we will obtain bone density
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           scans at the beginning of puberty suppression, and each year thereafter to monitor your
           child’s bone density.

          It’s possible that your child will get taller while on these medications. This can be problematic
           for transgender girls to achieve a typical female height. In transgender boys, delaying the
           onset of puberty may actually make him slightly taller (one of the reasons that girls are usually
           shorter than boys is because puberty is started earlier).

          These medicines will be stopping the development of puberty for your child and other people
           may notice. As your child becomes older, this may become more apparent.

          Some transgender people have experienced harassment and discrimination. You can get
           resources that will support your child and your family. Parents and guardians frequently have
           to advocate for children to participate safely and free from harassment in schools and other
           activities. You can ask your child’s provider and therapist for help advocating for your child.

    Prevention of Medical Complications

          Please take your puberty blocking medication as prescribed. Tell your health care provider if
           your child has any problems or side effects or is unhappy with the medication.

          Your child needs periodic check-ups to make sure that your child is responding appropriately.

          Using these medicines to block puberty is an off-label use. This means it is not approved by
           the Food and Drug Administration for this specific use. This medication is recommended for
           your child based on the judgment and experience of our health care provider and is supported
           by the Society of Pediatric Endocrinology.

          Your child can choose to stop taking these medications at any time. If your child decides to
           do that, stop the medications with the help of your health care provider.

    Our signatures below confirm that

          Your child’s health care provider has talked with you about the benefits and risks of puberty
           blockers for your child.

          The possible or likely consequences of using puberty blockers and potential alternative
           treatments.

          You understand the risks that may be involved.

          You know that the information in this form includes the known effects and risks. You also
           know that there may be unknown long-term effects or risks.

          You have had enough opportunity to discuss treatment options with your child’s health care
           provider.

          All of your questions have been answered to your satisfaction.
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          You have enough information to provide informed consent for your child to take, refuse, or
           postpone using puberty blocking medications.

          Your child is in agreement with this treatment and the signature of your child on this form
           attests to this agreement.

          Your signature attests to your consent for your child to begin the puberty suppression with
           GnRH analogs.


    _________________________________________                   ___________________
    Patient Signature                                           Date

    _________________________________________                   ___________________
    Parent or Guardian signature                                Date

    _________________________________________                   ___________________
    Parent or Guardian signature                                Date

    _________________________________________                   ___________________
    Prescribing clinician signature                             Date
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                Informed Consent Form for Testosterone Therapy
    This form refers to the use of testosterone by persons in the female-to-male spectrum who wish to become
    more masculine to reduce gender dysphoria and facilitate a more masculine gender presentation. While there
    are risks associated with taking testosterone, when appropriately prescribed it can greatly improve mental
    health and quality of life.

    This form covers the known and unknown benefits, risks, and changes that may occur from taking
    masculinizing medication. If you have any questions or concerns about the information below, please talk with
    the people involved in your care so you can make fully informed decisions about your treatment. It is your
    right to seek another opinion if you want additional perspective on any aspect of your care.


    Masculinizing Effects
    Testosterone is being prescribed to reduce female physical characteristics and masculinize your body.
    The masculinizing effects of testosterone can take several months or longer to become noticeable, the rate
    and degree of change can’t be predicted, and changes may not be complete for 2-5 years after you start
    testosterone.

        1. The following changes will likely be permanent even if you stopped taking testosterone:

                   Lower voice pitch (i.e., voice becoming deeper).
                   Increased growth of hair, with thicker/coarser hairs, on arms, legs, chest, back, and
                    abdomen.
                   Gradual growth of moustache/beard hair.
                   Hair loss at the temples and crown of the head, with the possibility of becoming completely
                    bald.
                   Genital changes may or may not be permanent if testosterone is stopped early. These
                    include clitoral growth (typically 1-3 cm) and vaginal dryness.

        2. The following changes are usually not permanent (that is, they will likely reverse if you stop taking
           testosterone):

                   Acne, which may be severe and can cause permanent scarring if not treated.
                   Fat may redistribute to a more masculine pattern (decreased on buttocks/hips/thighs,
                    increased in abdomen – changing from “pear shape” to “apple shape”).
                   Increased muscle mass and upper body strength.
                   Increased libido (sex drive).
                   Menstrual periods typically stop within 1-6 months of starting testosterone.
        3. It is not known what the effects of testosterone are on fertility. Even if you stop taking testosterone it
           is uncertain if you will be able to get pregnant in the future. Even after testosterone stops your
           menstrual periods it may still be possible for you to get pregnant, and we advise that you consider
           birth control options (if applicable). You cannot take testosterone if you are pregnant
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        4. Your chest tissue may appear slightly smaller due to fat loss, but will not substantially shrink.


    Risks of Testosterone
    The medical effects and safety of testosterone use in those younger than 18 are not fully understood, and
    there may be long-term risks that are not yet known.

    You are strongly advised not to take more testosterone than prescribed, as this increases health risks. Taking
    more than prescribed will not make masculinization happen more quickly or increase the degree of change:
    extra testosterone can be converted to estrogen, which may slow or stop masculinization.

    The following are potential medical risks of testosterone:

           Increase your risk of heart disease, including:

                •   decreasing good cholesterol (HDL) and increasing bad cholesterol (LDL)
                •   increasing blood pressure
                •   increasing deposits of fat around your internal organs
        Your risk of heart disease is greater if people in your family have had heart disease, if you are overweight,
        or if you smoke. Heart health checkups, including monitoring of your weight and cholesterol levels, should
        be done periodically as long as you are taking testosterone.


           Increase the red blood cells and hemoglobin, and while the increase is usually only to a normal male
            range (which does not pose health risks), a high increase can cause potentially life-threatening
            problems such as stroke and heart attack. Your blood should be monitored periodically while you are
            taking testosterone.

           Increase your risk for diabetes by decreasing your body’s response to insulin, causing weight gain,
            and increasing deposits of fat around your internal organs. Your fasting blood glucose should be
            monitored periodically while you are taking testosterone.

           Lead to your cervix and the walls of your vagina becoming more fragile, and that this can lead to tears
            or abrasions that increase the risk of sexually transmitted infections (including HIV) if you have
            vaginal sex – no matter what the gender of your partner is. Frank discussion with your doctor about
            your sexual practices can help determine how best to prevent and monitor for sexually transmitted
            infections.

           Cause headaches or migraines. If you are frequently having headaches or migraines, or the pain is
            unusually severe, it is recommended that you talk with your health care provider.

           Testosterone can cause emotional changes, including increased irritability, frustration, and anger. We
            can assist you in finding resources to explore and cope with these changes if necessary.

    Testosterone will result in changes that will be noticeable by other people, and some transgender people in
    similar circumstances have experienced harassment, discrimination, and violence, while others have lost
    support of loved ones. Your care team can assist in finding advocacy and support resources.




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    Prevention of Medical Complications
    In order to decrease potential medical complications, take testosterone as prescribed and tell your doctor if
    you are not happy with the treatment or are experiencing any problems.

           The right dose or type of medication prescribed for you may not be the same as for someone else.

           Physical examinations and blood tests are needed on a regular basis to check for negative side
            effects of testosterone.

           Some medical conditions make it dangerous to take testosterone. If your doctor suspects you might
            have one of these conditions, they may want to get those issues controlled before you start taking
            hormones.

           You can choose to stop taking testosterone at any time, it is advised that you do this with the help of
            your doctor to make sure there are no negative reactions to stopping.

    Your signature below confirms that:

           Your doctor has talked with you about the benefits and risks of testosterone, the possible or likely
            consequences of hormone therapy, and potential alternative treatment options.
           You understand the risks that may be involved.
           You understand that this form covers known effects and risks and that there may be long-term effects
            or risks that are not yet known.
           You have had sufficient opportunity to discuss treatment options with your doctor. All of your
            questions have been answered to your satisfaction.
           You believe you have adequate knowledge on which to base informed consent to the provision of
            testosterone therapy.

    ____________________________________ __________________
    Patient Signature                      Date


    ____________________________________ __________________
    Parent/Caregiver Signature (for minors) Date


    ____________________________________ __________________
    Parent/Caregiver Signature (for minors) Date


    ____________________________________ __________________
    Provider Signature                     Date




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                Informed Consent Form for Testosterone Therapy
                          (for youth on GnRH analogs)
    This form refers to the use of testosterone by persons in the female-to-male spectrum who wish to become
    more masculine to reduce gender dysphoria and facilitate a more masculine gender presentation. While there
    are risks associated with taking testosterone, when appropriately prescribed it can greatly improve mental
    health and quality of life.

    If you have any questions or concerns about the information below, please talk with the people involved in
    your care so you can make fully informed decisions about your treatment. It is your right to seek another
    opinion if you want additional perspective on any aspect of your care.


    Masculinizing Effects
    Testosterone is being prescribed to reduce female physical characteristics and masculinize your body.
    The masculinizing effects of testosterone can take several months or longer to become noticeable, the rate
    and degree of change can’t be predicted, and changes may not be complete for 2-5 years after you start
    testosterone.

        1. The following changes will likely be permanent even if you stopped taking testosterone:

                   Lower voice pitch (i.e., voice becoming deeper).
                   Increased growth of hair, with thicker/coarser hairs, on arms, legs, chest, back, and
                    abdomen.
                   Gradual growth of moustache/beard hair.
                   Hair loss at the temples and crown of the head, with the possibility of becoming completely
                    bald.
                   Genital changes may or may not be permanent if testosterone is stopped. These include
                    clitoral growth (typically 1-3 cm) and vaginal dryness.

        2. The following changes are usually not permanent (that is, they will likely reverse if you stop taking
           testosterone):

                   Acne, which may be severe and can cause permanent scarring if not treated.
                   Fat may redistribute to a more masculine pattern (decreased on buttocks/hips/thighs,
                    increased in abdomen – changing from “pear shape” to “apple shape”).
                   Increased muscle mass and upper body strength.
                   Increased libido (sex drive).
                   Menstrual periods typically stop within 1-6 months of starting testosterone.
        3. It is not known what the effects of testosterone are on fertility. If you started puberty blockers in the
           early stages of your puberty, then you will not have mature enough eggs to reproduce. Even if you
           stop taking testosterone and blockers, and progress through your puberty, it is uncertain if you will be
           able to get pregnant in the future. While it is unlikely that you could get pregnant while on blockers
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            and testosterone, we strongly recommend that you use condoms for prevention of pregnancy and
            transmission of sexually transmitted infections.

        4. If you developed chest tissue prior to starting blockers, it may appear slightly smaller when starting
           testosterone due to fat loss, but will not substantially shrink.


    Risks of Testosterone
    The medical effects and safety of testosterone use in those younger than 18 are not fully understood, and that
    there may be long-term risks that are not yet known.

    You are strongly advised not to take more testosterone than prescribed, as this increases health risks. Taking
    more than prescribed will not make masculinization happen more quickly or increase the degree of change:
    extra testosterone can be converted to estrogen, which may slow or stop masculinization.

    The following are potential medical risks of testosterone:

           Increase your risk of heart disease, including:

                •   decreasing good cholesterol (HDL) and increasing bad cholesterol (LDL)
                •   increasing blood pressure
                •   increasing deposits of fat around your internal organs
    Your risks of heart disease are greater if people in your family have had heart disease, if you are overweight,
    or if you smoke. Heart health checkups, including monitoring of your weight and cholesterol levels, should be
    done periodically as long as you are taking testosterone.

           Cause damage to the liver, possibly leading to liver disease. Monitoring for possible liver damage as
            long as you are taking testosterone is advised.

           Increase the red blood cells and hemoglobin, and while the increase is usually only to a normal male
            range (which does not pose health risks), a high increase can cause potentially life-threatening
            problems such as stroke and heart attack. Your blood should be monitored periodically while you are
            taking testosterone.

           Increase your risk for diabetes by decreasing your body’s response to insulin, causing weight gain,
            and increasing deposits of fat around your internal organs. Your fasting blood glucose should be
            monitored periodically while you are taking testosterone.

           Lead to your cervix and the walls of your vagina becoming more fragile, and that this can lead to tears
            or abrasions that increase the risk of sexually transmitted infections (including HIV) if you have
            vaginal sex – no matter what the gender of your partner is. Frank discussion with your doctor about
            your sexual practices can help determine how best to prevent and monitor for sexually transmitted
            infections.

           Cause headaches or migraines. If you are frequently having headaches or migraines, or the pain is
            unusually severe, it is recommended that you talk with your health care provider.

           Testosterone can cause emotional changes, including increased irritability, frustration, and anger. I
            have been advised that your doctor can assist me in finding resources to explore and cope with these
            changes.




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    Testosterone will result in changes that will be noticeable by other people, and that some transgender people
    in similar circumstances have experienced harassment, discrimination, and violence, while others have lost
    support of loved ones. Your care team can assist in finding advocacy and support resources.

    Prevention of Medical Complications
    In order to decrease potential medical complications, take testosterone as prescribed and tell your doctor if
    you are not happy with the treatment or are experiencing any problems.

           The right dose or type of medication prescribed for you may not be the same as for someone else.

           Physical examinations and blood tests are needed on a regular basis to check for negative side
            effects of testosterone.

           Testosterone can interact with other medication (including other sources of hormones), dietary
            supplements, herbs, alcohol, and street drugs. Let your healthcare provider know if you are
            concerned about any of these potential interactions.

           Some medical conditions make it dangerous to take testosterone. If your doctor suspects you might
            have one of these conditions, they may want to get those issues controlled before you start taking
            hormones.

           You can choose to stop taking testosterone at any time, it is advised that you do this with the help of
            your doctor to make sure there are no negative reactions to stopping.

    Your signature below confirms that:

           Your doctor has talked with you about the benefits and risks of testosterone, the possible or likely
            consequences of hormone therapy, and potential alternative treatment options.
           You understand the risks that may be involved.
           You understand that this form covers known effects and risks and that there may be long-term effects
            or risks that are not yet known.
           You have had sufficient opportunity to discuss treatment options with your doctor. All of your
            questions have been answered to your satisfaction.
           You believe you have adequate knowledge on which to base informed consent to the provision of
            testosterone therapy.

    ____________________________________ __________________
    Patient Signature                      Date


    ____________________________________ __________________
    Parent/Caregiver Signature (for minors) Date


    ____________________________________ __________________
    Parent/Caregiver Signature (for minors) Date


    ____________________________________ __________________
    Provider Signature                     Date



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                    Attachment 2
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                                                                                                    Public Health Service

                                                                                               National Institutes of Health
                                                                                             Freedom of Information Office
                                                                                                 Building 31, Room 5B-35
                                                                                               31 Center Drive, MSC 2107
                                                                                           Bethesda, Maryland 20892-2107
                                                                                                   phone: (301) 496-5633
                                                                                                       fax: (301) 402-4541




    Via Email:       patd105@gmail.com


    April 17, 2020

    Dr. Patricia W Daugherty
    Retired
    Eagle Forum of Georgia
    5041 Price Mill Road
    Bishop, GA 30621

    Re: HHS Appeal 19-0093-AA; NIH FOIA Request 51365


    Dear Dr. Daugherty:

    Enclosed please find a document production in connection with HHS Appeal 19-0093-AA, and
    the related NIH FOIA request, No. 51365. We received your request on July 9, 2019, which
    sought: (1) a copy of the initial grant application submitted to NIH/NICHD, including all
    appendices and attachments, and (2) a copy of the informed consent forms required to be
    signed by participants and/or parents or guardians (NOT any completed form -- just a copy of the
    blank forms given to participants).

    With respect with part 2 of your request, the National Institute for Child Health and Human
    Development (NICHD) conducted a search and identified a total of 40 pages of responsive
    records. These are enclosed without redactions.

    Please let us know if there are any questions.

                                                     Sincerely,



                                                     Gorka Garcia-Malene
                                                     Freedom of Information Officer, NIH


    Enclosures: PDF totaling 40 pages
